                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                      Case No. 3:20-cr-00002-JMK-DMS
                      Plaintiff,
                                                ORDER FOR ISSUANCE OF
        vs.                                     SUBPOENA TO PRODUCE
                                                RECORDS PURSUANT TO
 NATHAN CONNER,                                 FED. R. CRIM. P. 17(C)
                      Defendant.


       IT IS HEREBY ORDERED that Defendant Nathan Conner's Motion and

Application for Issuance of Subpoena Pursuant to Fed. R. Crim. P. 17(c) at Docket No. 40

is GRANTED and the accompanying Subpoena shall issue, directing the Custodian of

Records for the Alaska State Troopers, State of Alaska Department of Public Safety, to

produce the records described therein by April 30, 2021. If the records are not produced by

that date, the Custodian of Records or a representative for the State of Alaska Department

of Public Safety is directed to participate in a Telephonic Status Conference set for April

30, 2021, at 3:00pm. Participating parties shall attend by calling (888) 278-0296, Access

Code 2502448, from a landline telephone five minutes prior to the start of the hearing.



       DATED this ___
                   8th day of _______
                                April _, 2021, in Anchorage, Alaska.




                                              Deborah M. Smith
                                              CHIEF U.S. MAGISTRATE JUDGE




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